
23 N.Y.2d 754 (1968)
State of New York, Respondent,
v.
J. S. Garlick Parkside Memorial Chapels, Inc., Appellant.
Court of Appeals of the State of New York.
Argued November 18, 1968.
Decided December 11, 1968.
Charles S. Desmond, George Goodstein and Joseph Rubin for appellant.
Louis J. Lefkowitz, Attorney-General (Philip Weinberg, Samuel A. Hirshowitz and Henry P. Lipscomb, Jr., of counsel), for respondent.
George Goodstein for New York State Funeral Directors Association, Inc., amicus curiae.
Concur: Chief Judge FULD and Judges BURKE, BERGAN, BREITEL and JASEN. Judges SCILEPPI and KEATING dissent and vote to reverse on the dissenting opinion at the Appellate Division.
Order affirmed, with costs, on the prevailing opinion at the Appellate Division.
